
689 S.E.2d 858 (2010)
In the Matter of S.C.H., a minor child.
No. 433A09.
Supreme Court of North Carolina.
March 12, 2010.
Jess, Isenberg &amp; Thompson, by Elva L. Jess, Southport, for petitioner-appellee, Brunswick County Department of Social Services.
Pamela Newell Williams, GAL Appellate Counsel, for appellee, Guardian ad Litem.
Mary McCullers Reece, Smithfield, for respondent-appellant, mother.
Geoffrey W. Hosford and Sofie W. Hosford, Wilmington, for respondent-appellant, father.
PER CURIAM.
AFFIRMED.
